Case 1:25-cv-00381-ABJ        Document 21-2       Filed 02/20/25     Page 1 of 1




             THE STATE BAR OF CALIFORNIA
               CERTIFICATE OF STANDING


                                                               February 18, 2025




TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, JENNIFER DALE
BENNETT, #296726 was admitted to the practice of law in this state by the Supreme
Court of California on June 2, 2014 and has been since that date, and is at date
hereof, an ACTIVE licensee of the State Bar of California; and that no
recommendation for discipline for professional or other misconduct has ever been
made by the Board of Trustees or a Disciplinary Board to the Supreme Court of the
State of California.




                                        THE STATE BAR OF CALIFORNIA




                                        Lea Randrup
                                        Custodian of Records
